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EXHIBIT 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

HOMEVESTORS OF AMERICA, INC.,

C.A. No. 22-1583-RGA
Plaintiff,

)
)
)
)
v. )
)
WARNER BROS. DISCOVERY, INC.,, )

)

)

Defendant.

FIRST AMENDED COMPLAINT

Plaintiff Home Vestors of America, Inc. is commonly known as the We Buy Ugly Houses®
people. As the largest homebuyer in the U.S., HomeVestors has spent decades building a brand
and identity associated with helping homeowners with problematic houses using its WE BUY
UGLY HOUSES family of trademarks. Millions of Americans are familiar with HomeVestors’
brand and WE BUY UGLY HOUSES marks. HomeVestors runs a yearly contest for THE
UGLIEST HOUSE OF THE YEAR and owns incontestable trademark registrations for this mark,
which it has used since 2007. The yearly contest helps demonstrate how the franchisees of
America’s number one home buyer renovate the homes they buy and showcases one extreme home

makeover as the winner.

Defendant Warner Bros. Discovery, Inc.’s new HGTV show-——“Ugliest House In
Ametica”—is a home renovation contest and TV show that trades off of HomeVestors’
trademarks. By using a confusingly similar name for a similar home renovation contest,
Defendant’s HGTV show is likely to confuse consumers, is harming HomeVestors’ brand,
infringing HomeVestors’ trademark rights, and creating a false association between Home Vestors

and Defendant’s HGTV show. Because HGTV refused to respect Home Vestors’ trademark rights,

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despite repeated requests to do so, HomeVestors hereby files suit to stop Defendant from

continuing to confuse the public and harm the HomeVestors brand.

I. PARTIES
1. Plaintiff HomeVestors is a domestic corporation with its principal place of business
in Dallas, Texas.
2. Defendant Warner Bros. Discovery, Inc. is a Delaware corporation with its

headquarters located at 230 Park Avenue South, New York, New York 10003.

Ii. JURISDICTION AND VENUE

3, This is an action for trademark infringement, unfair competition, and trademark
dilution arising under 15 U.S.C. §§ 1114, 1125(a), and 1125(c). Accordingly, this Court has subject
matter jurisdiction under 28 U.S.C. § 1331 and supplemental jurisdiction over state law claims
under 28 U.S.C. § 1367.

4. Defendant is subject to personal jurisdiction in this district because Defendant is a
Delaware corporation. In addition, Defendant has infringed, contributed to the infringement of,
and/or actively induced others to infringe HomeVestors’ trademarks in this district.

5. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), in that a substantial
part of the claims arose in this district and Defendant resides in this district for purposes of venue

under 28 U.S.C. § 1391(c).

WH. FACTUAL BACKGROUND

A. HomeVestors Helps Homeowners

6. HomeVestors is the largest homebuyer in the United States. Since its founding in
1996, HomeVestors’ network of over 1,100 independently owned and operated franchises has

purchased over 125,000 homes throughout the United States. HomeVestors’ franchisees, who are

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located in this District, 47 other states, and the District of Columbia, build businesses based on
buying, rehabbing, selling, and holding residential properties.

Te Known as the We Buy Ugly Houses® people, HomeVestors strives to make a
positive impact in each of its over 175 markets. HomeVestors was listed on the 2021 Inc. 5000,
and has been listed on the prestigious Franchise Business Review’s List of Top Franchises 11
times. HomeVestors has also been regularly recognized by Entrepreneur Magazine, including as a
Top Growth Franchise and placed at number 36 on its annual Franchise 500. In 2020, Franchise
Times ranked HomeVestors 94" on its Top 200 Franchise Chains by Worldwide Sales. This year,
HomeVestors received a Top Overall Franchise Award from FranchiseHelp, the world’s largest
independent information resource for prospective franchisees.

8. HomeVestors’ franchisees often renovate the houses they purchase before selling
or renting them to others. Consequently, since at least 2000, HomeVestors has used the mark WE
BUY UGLY HOUSES in connection with its franchising and real estate services.

O: Since 2007, HomeVestors has been using the mark THE UGLIEST HOUSE OF
THE YEAR in connection with organizing and promoting contests for advertising purposes;
promoting the sale of services of others by conducting contests, and in particular, promoting a
home renovation contest.

10. HomeVestors’ contest for THE UGLIEST HOUSE OF THE YEAR has received
widespread recognition through social media and press coverage. For example:

HomeVestors® Names The Ugliest House of the Year® for 2022 -

https://www. businesswire.com/news/home/20230208005627/en/

The Ugliest House of the Year - https://www.orlandomagazine.com/the-ugliest-house-of-

the-year/
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HomeVestors Names The Ugliest House Of The Year® 2021 -

https://www.businesswire.com/news/home/20220111005866/en/HomeVestors-Names-

The-Ugliest-House-Of-The- Year%C2%AE-2021

Meet America’s ‘Ugliest House of the Year-—and See How Gorgeous It Looks Today -

https://www.mysanantonio.com/realestate/article/Meet-America-s-Ugliest-House-of-the-

Year-and-15011194.php

11. HomeVestors’ yearly contest for THE UGLIEST HOUSE OF THE YEAR receives
significant social media and press, including television news coverage.

12. While millions of Americans are familiar with HomeVestors’ WE BUY UGLY
HOUSES brand, many do not see the renovation and rehab work that HomeVestors’ franchisees
put into these houses. HomeVestors’ yearly UGLIEST HOUSE OF THE YEAR contest helps
bridge that gap.

13. As HomeVestors’ CEO David Hicks has previously stated, “[m]any people may
not have seen the actual hard work that the ‘We Buy Ugly Houses’ people do on the houses we
buy, dealing with everything from rodent infestations and natural disasters to neglect and
vandalism. The Ugliest House of the Year represents the best of the thousands of houses that were
[seen as] hopeless by other buyers, but not by HomeVestors franchisees, who see potential and
know-how to make it a reality. They don’t just buy these houses, but they also labor to make these
properties whole again.”

14. The 2021 winner of HomeVestors’ Ugliest House of the Year contest is one such
example. When HomeVestors’ franchisee Bernardo Mazzucco purchased the single-story ranch

built in 1984, “it had enough junk to fill five dumpsters strewn inside and out accompanied by an
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overwhelming smell inside that forced Mazzucco and his crews to rotate to help them endure it.”!
The house was infested with “animals ranging from those with four to six and eight legs” and also
had an “overgrown landscape [that] hid creepy finds like buried dolls in the backyard.”

15. | HomeVestors’ franchisee Mazzucco rehabilitated the house and transformed it into

a home for a new family. Below are a few before and after photos of the home saved by a

HomeVestors’ franchisee:

| https://www.yahoo.com/entertainment/homevestors-names-ugliest-house-2021-155500238.html
2 Id.

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16. Importantly, HomeVestors’ yearly contest relies on voting by the public. Each

contest entrant shows their before and after photos, which helps demonstrate how HomeVestors’
franchises help rehab homes in disrepair.
17. The following are examples of entrants for HomeVestors’ 2022 “Ugliest House of

the Year” contest:
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We Buy Ugly Houses ons We Buy Ugly Houses
SG Dacember2 at 2:01PM @ PR December | at 209M @
Contestant Ryan C. from Portland, OR. Vote for Ugly and make your community beautifull We'll Contestant: Tom T, from West Palm Beach, Florida. Vote for Ugly and make your community
donate $50 per voter comment and 530 per voter share, up to $20,000, to the winner's local beautifull We'll donate $50 per voter comment and $30 per voter share, up to $20,000, to the
Habitat for Humanity. Vote and share today for the chance to bring up to $20,000 hame to your winner's local Habitat for Humanity. Vote and share today for the chance to bring up to $20,000
focal community! Voting closes Friday, December 9th at 11:59pm and the winner will be home to your focal community! Voting closes Friday, December 9th at 11:59pm and the winner

announced on Thursday, December 15th! will be announced on Thursday, December 15th!

B. HomeVestors’ Trademarks Rights

18. | HomeVestors is also the owner of more than thirty United States Trademark
Registrations for its UGLY family of marks (collectively, the “UGLY HOUSES Marks”)

identified on Exhibit A.

19. Among HomeVestors’ federally registered UGLY HOUSES Marks are THE
UGLIEST HOUSE OF THE YEAR (U.S. Reg. Nos. 5,304,576 and 5,304,577), WE BUY UGLY
HOUSES (USS. Reg. Nos. 2,761,385; 2,999,705; 3,099,814; 5,297,521; 5,560,021; 5,467,581),
UGLY’S OK (U.S. Reg. No. 2,794,480), WE BUY THE GOOD, THE BAD AND THE UGLY
(U.S. Reg. No. 3,307,918), THE GOOD, THE BAD AND THE UGLY (U.S. Reg. No. 3,350,752),
UGLY OPPORTUNITIES (U.S. Reg. No. 4,313,868), UGLY HOUSE? (U.S. Reg. No.
5,172,916), WE BUY HOUSES, UGLY OR NOT (U.S. Reg. No. 5,919,518), and WE BUY
HOUSES, THE GOOD, THE BAD AND THE UGLY (U.S. Reg. No. 5,919,520). See Certificate

of Registrations attached hereto as Exhibit B.
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20. As noted above, numerous HomeVestors’ registrations for the UGLY HOUSES
Marks have become incontestable and constitute conclusive evidence of the validity of the marks,
HomeVestors’ ownership of the marks, and its exclusive right to use the marks. This includes
HomeVestors’ registrations for THE UGLIEST HOUSE OF THE YEAR (U.S. Reg. Nos.
5,304,576 and 5,304,577).

21. HomeVestors and its franchisees invest significant amounts of time, money, and
energy into promoting HomeVestors’ services under the UGLY HOUSES Marks. In just the last
10 years, HomeVestors has spent over $500 million in advertising and promoting the HomeVestors
brand using the UGLY HOUSES Marks.

22. Only HomeVestors and its independently owned and operated licensed franchisees
have the right to use HomeVestors’ UGLY HOUSES Marks.

23. | HomeVestors and its franchisees advertise their real estate-related services through
print media, billboards, the Internet, social media, and on television and radio.

24. Asaresult of the extensive advertising and sales, the UGLY HOUSES Marks enjoy
significant goodwill among relevant consumers.

25. Due to the longstanding use, extensive advertising, and widespread recognition
among the consuming public, HomeVestors’ WE BUY UGLY HOUSES mark, as well as

HomeVestors’ other UGLY HOUSES Marks, have become famous.

C, Defendant’s Wrongful Acts

26, Defendant is a media and entertainment company that provides a portfolio of
content through various brands and franchises across television, film, streaming and gaming. One
of Defendant’s brands is HGTV, which focuses on real estate, renovations, and home

transformations.

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27. Under its current leadership, Defendant has focused on providing more
cost-effective media, including by cutting shows and movies with high costs of production.

28. For example, Defendant’s CEO, who took over Defendant in 2006, has stated that
“(t]he grand experiment of creating something at any cost is over.”

29. It has been reported that Defendant has “been cutting content costs across the
company,” including “scrapping the in-production Batgirl film [which had a budget of $90M] and
killing a number of high-profile series such as J.J. Abrams’ HBO drama series Demimonde, which
was reported to have a budget of mid-$200M, as well as slashing series such as The Big D,
Chad and others on the Turner networks side.’* Joe Flint of The Wall Street Journal, who has
covered Defendant’s CEO for years, stated that “[i]here was a pivot under [Defendant’s CEO]
Zaslav and a pretty quick one to move these channels more towards lower-cost, unscripted reality
shows.”*

30. On information and belief, Defendant, including its HGTV brand, has focused more
on unscripted reality shows to save costs.

31. Defendant’s new HGTV show—‘Ugliest House In America”—is one of those
unscripted reality shows.

32. These reality “shows [are] also cheap to make, and for [Defendant’s CEO] Zaslav
that was a huge plus.”

33. On information and belief, Defendant’s “Ugliest House In America” show is less

expensive to make than scripted shows, in part, because they don’t hire actors. Instead, they utilize

3 See, e.g., https://deadline.com/2022/1 1/david-zaslav-warns-creating-content-any-cost-is-over-
1235163009/

‘Id.

* htips://Awww.wsj.com/podcasts/the-journal/the-media-mogul-taking-an-ax-to-
hollywood/c77¢799a-5f0d-493f-a034-eb8a8b57e9d6

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unpaid contestants with houses in need of renovation—the customer base of HomeVestors and its
franchisees.

34, In June 2020, a representative from Big Fish Entertainment (“Big Fish”), a
television production company, reached out to HomeVestors and stated that they were “working
on a development series for HGTV and were on the hunt for homeowners of the ugliest houses in
America.”

35, At the time, HGTV was casting for a new show, as shown below:’

HGTV Now Casting Ugly-
House Homeowners

nnouncing nationwide casting for owners of houses that could use
A some serious help. Are you no stranger to crazy reactions when

guests walk into your home? We'd like to hear from you. And see
your pictures!

Big Fish Entertainment is now casting fun and dynamic “ugly house”
homeowners from all over the country who own their house's flaws and
are in neea of a major home renovation.

36, In June and July of 2020, Big Fish communicated with HomeVestors several times
about the new HGTV show and opportunities for a mutually beneficial coliaboration.

37. Big Fish indicated it wanted to collaborate with HomeVestors to recruit contestants
for the competition. In other words, HomeVestors would act as a “lead generator” for Defendant,
using HomeVestors’ extensive network and famous household brand to find homeowners needing

home improvements and renovations.

7 hgtv.com/shows/be-on-hgtv/hgtv-now-casting-ugly-house-homeowners

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38. Over the years, HomeVestors has curated a vast nationwide network for finding
people who own houses in need of repairs, in part by spending hundreds of millions of dollars in
advertising. Homeowners who want to sell a house in need of repairs or a remodel know to call

HomeVestors, the people behind the UGLY HOUSES Marks.

39. Thus, upon information and belief, Big Fish initiated discussions with
HomeVestors with the goal of entering into an agreement that would allow Defendant to use the
HomeVestors franchise network, the UGLY HOUSES Marks, and HomeVestors’ extensive
advertising to find and funnel homeowners to Defendant as potential contestants for its show.

40. | Upon information and belief, Big Fish and/or Defendant contemplated that this
relationship with HomeVestors would include some form of compensation or other valuable
consideration, such as in-kind advertising within the show, in exchange for HomeVestors directing
these homeowners to Defendant to be featured contestants instead of distributing these seller leads
within its own franchise network.

41. But on August 4, 2020, Big Fish told HomeVestors that “[b]ecause our initial
casting was a development step and things are shifting constantly, we’d like to put this
conversation on hold.” Big Fish then told HomeVestors that “[i]f and when we have a clear
direction moving forward we will pick the conversation back up.”

42. On information and belief, as of August 4, 2020, both Defendant and Big Fish knew
that they would cast and launch a show that infringed HomeVestors’ trademarks. Further, on
information and belief, Defendant determined it would be cheaper not to work with Home Vestors
as a lead generator or in the show’s production, and instead unlawfully profit off HomeVestors’

goodwill, By infringing HomeVestors’ UGLY HOUSES Marks, Defendant could attract the

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contestants it needed — people owning houses in need of repair or renovation — without any
compensation to HomeVestors.

43. Then, without further discussion, Defendant launched a televised home renovation
contest with a nearly identical name as HomeVestors’ established home renovation contest, THE
UGLIEST HOUSE OF THE YEAR.

44. In 2022, Defendant premiered “Ugliest

House in America” on its HGTV network.

4S. The show chronicles comedian Marietta

Sirleaf, professionally known as Retta, as she “travels
across the country to tour properties nominated by their 3b /
owners as the ugliest homes around.”

46. _Inits advertising and promotion of the show,
Defendant emphasizes UGLY and UGLIEST HOUSE.

47. Defendant is also using

#UGLIESTHOUSEINAMERICA in its promotions.
48. Below are several examples of Defendant’s advertising of its show in which it

emphasizes the words UGLIEST HOUSE:

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@ #UgliestHouselnAmerica

49. In 2022, Defendant also ran a contest coinciding with the premiere of the show

entitled “HGTV’s UGLIEST $5k GIVEAWAY.”

50. Similar to the advertising shown above, Defendant chose to once again emphasize

the word UGLIEST.

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WATCH THE SPECIAL S-N1GHT EVENT
EVERY WEEKNIGHT AT 10/80 AND
(GET YOUR CODE TO ENTER

51. Defendant has an economic motivation for publishing each of the advertisements
and promotional items referenced above, which is to “sell” its television show to viewers.

52. Given the previous discussions with HomeVestors, Defendant was aware of
HomeVestors’ UGLY HOUSES Marks before launching its new Ugliest House in America show.

53.  Defendant’s show does not represent the values of the HomeVestors’ brand.
Defendant’s show focuses on and mocks houses with odd design choices and their owners. Most
of the shows are little more than making fun of homes and home design.

54. | Defendant’s attempt to turn poor housing design into a comedy show reflects poorly
on the homeowners and on the concept of home remodeling. This runs counter to HomeVestors’
brand image, which focuses on helping rehab homes that have fallen into disrepair and helping
homeowners out of “ugly situations.”

55. In addition, instead of working with HomeVestors to find potential houses and

contestants as Big Fish proposed, Defendant decided to bypass HomeVestors and instead use

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HomeVestors UGLY HOUSES Marks to solicit contestants, stating, for example, that “Big Fish
Entertainment is now casting fun and dynamic ‘ugly house’ homeowners.” Defendant is infringing
HomeVestors’ UGLY HOUSES Marks and engaging in unfair competition to compete with
HomeVestors and/or its franchisees through its solicitation of homeowners who might otherwise
have contacted Home Vestors to sell their houses.

56. Accordingly, by using HomeVestors’ UGLY HOUSES Marks to solicit people who
own houses in need of repair for its competition, Defendant is actively competing with
HomeVestors’ franchisees for houses and homeowners——all while reaping the benefits of hundreds
of millions of dollars in advertising.

57. In addition, consumers who watch the show are likely to be confused as to the
affiliation of the HGTV show with HomeVestors. The show’s derision of people with houses in
disrepair harms the brand reputation that HomeVestors has spent decades building. It also tarnishes
the famous UGLY HOUSES Marks.

58. HomeVestors contacted Defendant via a letter dated January 19, 2022 to inform
Defendant of HomeVestors’ concerns about its show. Specifically, HomeVestors told Defendant
that it believed the new “Ugliest House in America” show on HGTV “will likely continue to cause
confusion in the marketplace as to whether this TV show is related to, affiliated with, or sponsored
by HomeVestors.”

59. In a response letter dated January 31, 2022 from Defendant’s lawyer, Defendant
“acknowledge[d] that your client, HomeVestors of America, Inc. (“HomeVestors”) owns
registrations at the United States Patent and Trademark Office for marks comprised of or

consisting of the mark THE UGLIEST HOUSE OF THE YEAR.” However, Defendant refused to

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take any steps to address consumer confusion or its infringement of HomeVestors’ UGLY
HOUSES Marks

60. HomeVestors wrote Defendant again on February 17, 2022, and again asked
Defendant to stop using the confusingly similar UGLIEST HOUSE IN AMERICA mark in
connection with its show. Specifically, HomeVestors told Defendant that its new show is a contest,
“which is much closer to the services listed in the registration for HomeVestors’ [THE UGLIEST
HOUSE OF THE YEAR] mark.” HomeVestors also told Defendant that the name of its show is
“highly similar” to HomeVestors’ yearly contest and registered trademarks. Further, HomeVestors
told Defendant that “[g]iven the substantial similarly between the marks, we expect HomeVestors
to suffer significant confusion in the marketplace if [Defendant’s] use of the ‘Ugliest House in
America’ mark continues, particularly if no remedial measures are taken.”

61. Following receipt of HomeVestors’ letters in January and February 2022,
Defendant took no steps whatsoever to avoid damaging the HomeVestors’ brand or to prevent
consumer confusion. Instead, Defendant renewed the show for another season.

62. Due to Defendant’s continued use of a confusingly similar mark, a Google search
for UGLIEST HOUSE OF THE YEAR returns search results for Defendant’s HGTV show
“Usliest House in America” near the top of the results.

63. A Google search for UGLIEST HOUSE (the dominant part of HomeVestors’ mark
and contest name) almost exclusively returns search results for Defendant’s show.

64. Defendant is not affiliated with HomeVestors and does not have a license to use
any of HomeVestors’ UGLY HOUSES Marks. Defendant also does not have a license to use

HomeVestors’ THE UGLIEST HOUSE OF THE YEAR marks.

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65. Defendant has not attempted to register the mark UGLIEST HOUSE IN AMERICA
with the U.S. Patent and Trademark Office for its televised home renovation contest.

66.  Defendant’s show relies heavily on use of the words UGLY and UGLIEST in
connection with HOUSE and HOUSES, even though there are many synonyms for both words
that Defendant could have chosen to use.

67. On information and belief, Defendant also relies heavily on use of the words UGLY
and UGLIEST in connection with HOUSE and HOUSES to solicit potential contestants for its
reality show.

68. On information and belief, at least some of Defendant’s show contestants would
have been customers of one of HomeVestors’ franchisees, but for Defendant’s infringement and
unfair competition.

69. Defendant could have used a different name for the show that did not use the phrase
UGLIEST HOUSE.

70. Defendant has used and continues to use HomeVestors’ UGLY HOUSES Marks or
similar variations to advertise its home renovation television show, as well as to solicit contestants
for its competition.

71. Defendant makes no effort to distinguish its show from the HomeVestors’ UGLY
HOUSES Marks through disclaimers or other distinguishing elements, even after being notified
by HomeVestors that its use of nearly identical trademarks was likely to confuse consumers and
harm the HomeVestors brand.

72. Thus, Defendant intentionally and explicitly misleads consumers as to the source

and affiliation of HGTV’s “Ugliest House In America” show and home renovation contest.

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IV. CLAIMS FOR RELIEF
A. COUNT I: Trademark Infringement Under the Lanham Act, 15 U.S.C. § 1114

73. | HomeVestors realleges and incorporates by reference the allegations set forth in all
proceeding paragraphs.

74. HomeVestors is the owner of valid and subsisting U.S. registrations for the UGLY
HOUSES Marks identified above.

75. Defendant’s wrongful and unauthorized use in commerce of the UGLY HOUSES
Marks to promote, market, and advertise their home renovation television show contest constitutes
trademark infringement under 15 U.S.C. § 1114, as it is likely to cause confusion, mistake or
deception.

76. Defendant’s intentional and willful infringement of the UGLY HOUSES Marks has
caused, and will continue to cause, damage to HomeVestors, and is causing irreparable harm to
HomeVestors for which there is no adequate remedy at law. Therefore, HomeVestors is entitled
to injunctive relief against Defendant.

77. HomeVestors is entitled to recover Defendant’s profits, its actual damages, and the
costs of this action. HomeVestors is further entitled to recover treble damages and attorneys’ fees

under 15 U.S.C. § 1117, as this is an exceptional case due to Defendant’s willful conduct.
B. COUNT IL: Unfair Competition Under the Lanham Act, 15 U.S.C. § 1125

78. | HomeVestors realleges and incorporates by reference the allegations set forth in the
preceding paragraphs.
79. HomeVestors is the owner of valid U.S. registrations for the UGLY HOUSES

Marks identified above.

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80. The UGLY HOUSES Marks are distinctive marks that are associated with
HomeVestors and exclusively identify HomeVestors’ business and services.

81. Defendant has used, and continues to use, in commerce one or more words, terms,
names, symbols, devices, designs and combinations thereof and/or false descriptions of origin that
are likely to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
association of Defendant with HomeVestors and/or as to the origin, sponsorship, or approval of
the services and products and commercial activities of Defendant, and thus constitute trademark
infringement, false designation of origin, and unfair competition with respect to the UGLY
HOUSES Marks, in violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

82. The actions of Defendant described above have, at all times relevant to this action,
been willful and intentional.

83, As a result of Defendant’s actions, HomeVestors has been damaged and will
continue to be damaged. HomeVestors is entitled to recover Defendant’s profits, its actual
damages, and the costs of this action. HomeVestors is further entitled to recover treble damages
and attorneys’ fees under 15 U.S.C. § 1117, as this is an exceptional case due to Defendant’s

willful conduct.

Cc. COUNT IU: Dilution under the Lanham Act, 15 U.S.C. § 1125

84. | _HomeVestors realleges and incorporated by reference the allegations set forth in all
proceeding paragraphs.

85. Based at least on the distinctiveness of the UGLY HOUSES Marks; the duration
and extent of advertising featuring the UGLY HOUSES Marks; the geographic area in which
HomeVestors franchisees advertise their real estate-related services under the UGLY HOUSES

Marks; the nature of the trade channels used to market such real estate-related services under the

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UGLY HOUSES Marks compared to the trade channels through which Defendant markets, intends
to market, or is likely to market its services; the degree of public recognition of the UGLY
HOUSES Marks; and HomeVestors’ numerous federal registrations for the UGLY HOUSES
Marks, the UGLY HOUSES Marks have become famous, as that term is used in Section 43(c) of
the Lanham Act, and have been famous for years.

86.  Defendant’s actions described above, all occurring after the UGLY HOUSES
Marks became famous, are likely to cause dilution of the famous UGLY HOUSES Marks in
violation of Section 43(c) of the Lanham Act, 15 U.S.C.A. § 1125(c).

87. | HomeVestors has sustained damage as a direct and proximate result of Defendant’s
dilution in an amount to be proven at trial.

D. COUNT IV: Injury to business reputation; dilution under 6 DE Code § 3313

88. HomeVestors realleges and incorporated by reference the allegations set forth in all
proceeding paragraphs.

89. HomeVestors is the owner of all common law rights in Delaware for the UGLY
HOUSES Marks identified above.

90. The UGLY HOUSES Marks are distinctive marks that are associated with
HomeVestors and exclusively identify HomeVestors’ business and services.

91. | The UGLY HOUSES Marks have been used in Delaware since at least 2005.

92, Defendant has used, and continues to use, in commerce one or more words, terms,
names, symbols, devices, designs and combinations thereof and/or false descriptions of origin that

are likely to cause injury to the business reputation of HomeVestors and/or to dilute the distinctive

quality of the UGLY HOUSES Marks, in violation of 6 DE Cade § 3313.

19

Case C28e-G1598- NG A4- Bo cunktraume Eifed O3AeeS1 1RedeLo dPadePageiD#: 149

93.

As a result of Defendant’s actions, HomeVestors has been damaged and will

continue to be damaged unless Defendants are enjoined.

PRAYER FOR RELIEF

WHEREFORE, HomeVestors respectfully prays that the Court enter judgment in its favor

on each and every claim for relief set forth above and award it relief against Defendant, including,

but not limited to:

(1)
(2)

(3)

(4)

(5)

(6)

(7)

Actual, treble, and exemplary damages;

In accordance with 15 U.S.C. § 1116, issue a permanent injunction enjoining
Defendant and Defendant’s officers, agents, servants, employees, affiliates,
contractors, and attorneys, and all persons in active concert or participation with
Defendant from the acts described in this Complaint;

In accordance with 15 U.S.C. §§ 1117(a) and (d), award HomeVestors all of
Defendant’s profits from the aforesaid acts of trademark infringement and unfair
competition;

In accordance with 15 U.S.C. § 1117(a), find this case to be exceptional in
HomeVestors’ favor and award HomeVestors its reasonable attorney’s fees, costs,
and expenses of this action;

In accordance with 6 DE Code § 3313, grant HomeVestors an injunction to enjoin
Defendant from the acts described in this Complaint;

Award HomeVestors its costs and pre-judgment and post-judgment interest at the
maximum allowable interest rate; and

Grant HomeVestors such other relief, at law or in equity, to which it is justly
entitled.

20

Case Laset-64586 REAM RecurhacuTaentiled O3HilAgs 1PdgeHi21 davePagelS3: 150

/s/ Kelly E. Farnan

OF COUNSEL: Kelly E. Farnan (#4395)
Christine D. Haynes (#4697)

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Dallas, TX 75201

214-969-1700 Attorneys for Plaintiff

HomeVestors of America, Inc.
Tracy Zurzolo Quinn
Tracy.Quinn@hklaw.com
2929 Arch Street, Suite 800
Philadelphia, PA 19104
215-252-9522

Dated: March 17, 2023

21

Case 1G28e\L 08s: RGA4- Becunieoaument Filed OBER a3/OR Ye 1 Bewe PagdiBS#: 151

EXHIBIT A

Case 128evl 4be8-R1SA4-Becunteoeumant ied OBMEWAs/OAaye 2 Heye Pageib34: 152

EXHIBIT A

HomeVestors’ UGLY HOUSES Marks

MARK

REG, NO.

GOODS/SERVICES

THE UGLIEST HOUSE OF THE YEAR

5,304,576

(Incontestable)

IC 35. Organizing and promoting contests for
advertising purposes; promoting the sale of
services of others by conducting contests.

The.
UgtiesT
House

Of The © Year

5,304,577

(Incontestable)

IC 35, Organizing and promoting contests for
advertising purposes; promoting the sale of
services of others by conducting contests.

WE BUY UGLY HOUSES

3,099,814

(Incontestable)

IC 36. Real estate services, namely, real estate
brokerage, and providing mortgage, title and
home insurance brokerage services.

WE BUY UGLY HOUSES

2,999,705

(Incontestable)

IC 36. Real estate services, namely real estate

acquisition, real estate brokerage services and
real estate financing services.

2,827,136

(Incontestable)

IC 35. Franchising services, namely, offering
technical assistance in establishing, operating,
marketing and developing franchised
businesses that purchase, finance

and sell residential real estate.

2,797,429

(Incontestable)

IC 26. Ornamental novelty buttons.

UGly’s OK

2,797,374

(Incontestable)

IC 35. Franchising services, namely, offering
technical assistance in establishing, operating,
marketing and developing franchised
businesses that purchase, finance

and sell residential real estate.

Case 1GasevV.0r688-PASA4-Becunteorument Filed OBMEW/23/0R Rye 3 Bege RPagHIBS: 153

MARK

REG, NO.

GOODS/SERVICES

UGLY'S OK

2,794,480

(Incontestable)

IC 35. Franchising services, namely, offering
technical assistance in establishing, operating,
marketing and developing franchised
businesses that purchase, finance

and sell residential real estate.

UGLY HOUSE?

5,172,916

IC 35. Real estate sales management; sales
promotion services; franchising services,
namely, offering technical assistance in
establishing, operating, marketing and
developing franchised businesses that purchase,
finance and sell residential real estate.

IC 36. Real estate services, namely, real estate
brokerage, and providing mortgage, title and
home insurance brokerage services; real estate
services, namely, real estate acquisition, real
estate brokerage services and real estate
financing services; real estate consultation,
management, brokerage, and leasing services;
providing a web site for investors to access
listings of real estate properties that are for sale

THE GOOD, THE BAD AND THE
UGLY

3,350,752

(Incontestable)

IC 36. Real estate services, namely, purchase,
finance, acquisition and brokerage of
residential real estate properties for others.

WE BUY THE GOOD, THE BAD AND
THE UGLY

3,307,918

({Incontestable)

IC 36. Real estate services, namely purchase,
finance, acquisition and brokerage of
residential real estate properties.

UG BUYS
HOUSES.

3,128,574

(Incontestable)

IC 36. Real estate services, namely, real estate

acquisition, real estate brokerage services, and
real

estate financing services.

Case 126ev.01683-RIGA4-Becumertumant Fiéd OBMEWAs/OAaye 4 beRe PageIBG: 154

| REG.NO.

-.- GOODS/SERVICES -

WE BUY UGLY HOUSES

5,467,581

IC 35. Real estate sales management,
marketing, and advertising services; sales
promotion services; franchising services,
namely, offering business management
assistance, consultation, and advisory services
in establishing, operating, promoting,
marketing, and developing franchised
businesses in the fields of real estate, residential
and commercial real estate, and residential real
estate purchasing, residential real estate
financing, and the selling of residential real
estate.

IC 36. Real estate acquisition services; real
estate financing services; real estate
consultation, management, and leasing
services; evaluation and assessment of real
estate; providing a website featuring
information in the field of real estate and
featuring listings of properties for sale for
access by investors; providing real estate
listings and real estate information; providing
real estate listings and real estate information
via the Internet; franchising services, namely,
providing financial information and advice
regarding establishing, operating, marketing,
and developing franchised businesses in the
fields of real estate, residential and commercial
real estate, and residential real estate
purchasing, residential real estate financing,
and the selling of residential real estate,

UG BUYS UGLY HOUSES

2,999,978

Uncontestable)

IC 35, Franchising services, namely, offering
technical assistance in establishing, operating,
marketing and developing franchised
businesses that purchase, finance

and seli residential real estate.

UG BUYS UGLY HOUSES

2,935,916

(Incontestable}

IC 36. Real estate services, namely, real estate
acquisition, real estate brokerage services, and
real

estate financing services.

Case 1G88ev. 0i588-RIGA4-Becuniemtumant Hd OBIE Ad /OAdye 5 Pease PAgwIBS: 155

4,313,868

(Incontestable}

UGLY OPPORTUNITIES

IC 35. Franchise consulting services, namely,
consultation in connection with marketing and
advertising of franchise businesses, franchise
lead generation, strategic franchise planning,
territory management and franchise sales;
concept and brand development in the field of
franchising; marketing and promotion of
franchise sales services; business advisory and
consulting services relating to franchise sales,
broker referral services in the field of
franchises.

4,786,527

(Incontestable)

UG SELLS UGLY HOUSES

IC 35, Real estate sales management; sales
promotion services; providing web site for
investors to access properties for sale.

IC 36. Real estate services, namely, real estate
brokerage, and providing mortgage, title and
home insurance brokerage services; real estate
services,

namely, real estate acquisition, real estate
brokerage services and real estate financing
services; real estate consultation, management,
brokerage, and leasing

services; real estate sales, namely, real estate
agency services and real estate listing.

4,638,341
WE SELL UGLY HOUSES (incontestable)

IC 035. Real estate sales management; sales
promotion services; providing web site for
investors to access properties for sale.

IC 036. Real estate services, namely, real
estate

brokerage, and providing mortgage, title and
home insurance brokerage services; real estate
services,

namely, real estate acquisition, real estate
brokerage services and real estate financing
services: real estate consultation, management,
brokerage, and leasing

services; real estate sales, namely, real estate
agency services and reai estate listing.

Case 1Gasevihr68s-RiGA4-Becunteorumant tied OBNEr/ad/OAAye 6 Hews Pages: 156

MARK

REG, NO.

GOODS/SERVICES

LW
Ugly

HOUSES.

4,881,433

IC 35. Real estate sales management; sales
promotion services; providing web site for
Investors to access properties for sale.

IC 036. Real estate services, namely real estate
brokerage, and providing mortgage, title and
home insurance brokerage services; real estate
bervices, namely, real estate acquisition, real
estate brokerage services and real estate
financing services; real estate consultation,
management, brokerage, and leasing services;
teal estate sales, namely real estate agency
services and real estate listing.

#WEBUYUGLYHOUSES

5,297,521

IC 35. Real estate sales management; sales
promotion services; franchising services,
namely offering technical assistance in
establishing, operating, marketing and
developing franchised businesses that purchase,
finance and sell residential real estate.

IC 36. Real estate services, namely, real estate
brokerage, and providing mortgage, title and
home insurance brokerage services; real estate
services, namely, real estate acquisition, real
estate brokerage services and real estate
financing services; real estate consultation,
management, brokerage, and leasing services;
providing a website for investors to access

listings of real estate properties that are for sale.

Case 1C28e\.-0158G-RGEA4-Becunieonument Fied C8led/23/0Pate 7 Bage PagdIDS#: 157

MARK

| REG.NO. |

|BUY UGLY HOUSES

6,259,085

IC 35. Real estate sales management,
marketing, and advertising services; sales
promotion services; franchising services,
namely, offering business management
assistance, consultation, and advisory services
in establishing, operating, promoting,
marketing, and developing franchised
businesses in the fields of real estate, residential
and commercial real estate, and in the fields of
residential real estate purchasing, residential
real estate financing, and the selling or leasing
of residential real estate.

IC 36. Real estate acquisition services; real
estate financing services; real estate
consultation, management, and leasing
services; evaluation and assessment of real
estate; providing a website featuring
information in the field of real estate and
featuring listings of properties for sale for
access by investors; providing real estate
Hstings and real estate information; providing
real estate listings and real estate information
via the Internet; franchising services, namely,
providing financial information and advice
regarding establishing, operating, marketing,
and developing franchised businesses in the
fields of real estate, residential and commercial
real estate, and residential real estate
purchasing, residential real estate financing,
and the selling or leasing of residential real
estate.

SOLUTIONS FOR UGLY SITUATIONS

3,188,593

(incontestable}

IC 36. Real estate services, namely real estate
acquisition, real estate brokerage services and
loan financing.

SOLUTIONS FOR UGLY SITUATIONS

3,185,390

(ncontestabie}

IC 35. Franchising services, namely, offering
technical assistance in establishing, operating,
marketing and developing franchised
businesses that purchase, finance and sell
residential! real estate

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oe "MARK ee ee

_GOODS/SERVICES.

SELL US YOUR UGLY HOUSE

5,919,522

IC 35. Real estate sales management,
marketing, and advertising services; sales
promotion services; franchising services,
namely, offering business management
assistance, consultation, and advisory services
in establishing, operating, promoting,
marketing, and developing franchised
businesses in the fields of real estate, residential
and commercial real estate, and in the fields of
residential real estate purchasing, residential
real estate financing, and the selling or leasing
of residential real estate

IC 36. Real estate acquisition services; real
estate financing services; real estate
consultation, management, and leasing
services; evaluation and assessment of real
estate; providing a website featuring
information in the field of real estate and
featuring listings of properties for sale for
access by investors; providing real estate
listings and real estate information; providing
real estate listings and real estate information
via the Internet; franchising services, namely,
providing financial information and advice
regarding establishing, operating, marketing,
and developing franchised businesses in the
fields of real estate, residential and commercial
real estate, and residential real estate
purchasing, residential real estate financing,
and the selling or leasing of residential real
estate.

Case 1@a8evl 2689-RiSA4 Bécuntepeuaant Edad OBEL AS /OAAge 9 Slawe BagwibS: 159

“REG. NO.

- GOODSISERVICES

WE BUY HOUSES, THE GOOD, THE
BAD AND THE UGLY

5,919,520

IC 35. Real estate sales management,
marketing, and advertising services; sales
promotion services; franchising services,
namely, offering business management
assistance, consultation, and advisory services
in establishing, operating, promoting,
marketing, and developing franchised
businesses in the fields of real estate, residential
and commercial real estate, and in the fields of
residential real estate purchasing, residential
real estate financing, and the selling or leasing
of residential real estate.

IC 36. Real estate acquisition services; real
estate financing services; real estate
consultation, management, and leasing
services; evaluation and assessment of real
estate; providing a website featuring
information in the field of real estate and
featuring listings of properties for sale for
access by investors; providing real estate
listings and real estate information; providing
real estate listings and real estate information
via the Internet; franchising services, namely,
providing financial information and advice
regarding establishing, operating, marketing,
and developing franchised businesses in the
fields of real estate, residential and commercial
real estate, and residential real estate
purchasing, residential real estate financing,
and the selling or leasing of residential real
estate.

Case 1@asevin4ss9-REm 4 thtitumescumenthited OSfiedZsl/PHgé 1LORAGS Pagel #: 160

REG. NO.

WE BUY HOUSES, UGLY OR NOT

5,919,518

IC 35. Real estate sales management,
marketing, and advertising services; sales
promotion services; franchising services,
namely, offering business management
assistance, consultation, and advisory services
in establishing, operating, promoting,
marketing, and developing franchised
businesses in the fields of real estate, residentiai
and commercial real estate, and in the fields of
residential real estate purchasing, residential
real estate financing, and the selling or leasing
of residential real estate.

IC 36. Real estate acquisition services; real
estate financing services; real estate’
consultation, management, and leasing
services; evaluation and assessment of real
estate; providing a website featuring
information in the field of real estate and
featuring listings of properties for sale for
access by investors; providing real estate
listings and real estate information; providing
real estate listings and real estate information
via the Internet; franchising services, namely,
providing financial information and advice
regarding establishing, operating, marketing,
and developing franchised businesses in the
fields of real estate, residential and commercial
real estate, and residential real estate
purchasing, residential real estate financing,
and the selfing or leasing of residential real
estate.

Case 1@asevi01563-REM 4 tReumescumentFiied OTilad2B1/Pagé 11 aes PageAs#: 161

MARK

REG. NO.

WE BUY UGLY HOUSES.COM

5,960,021

IC 35. Real estate sales management,
marketing, and advertising services; sales
promotion services; franchising services,
namely, offering business management
assistance, consultation, and advisory services
in establishing, operating, promoting,
marketing, and developing franchised
businesses in the flelds of real estate, real estate
investment, and the purchase, finance, and sale
of real estate.

IC 36. Real estate acquisition services; real
estate financing services; real estate
consultation, management, and leasing
services; evaluation and assessment of real
estate; providing a website featuring
information in the field of real estate and
featuring listings of properties for sale for
access by investors; providing real estate
listings and real estate information, providing
real estate listings and real estate information
via the Internet; franchising services, namely,
providing financial information and advice
regarding establishing, operating, marketing,
and developing franchised businesses in the
fields of real estate, real estate investment, and
the purchase, finance, and sale of real estate.

10

Case 1 9asevlo44ea-REA4 bitumencumenthited OBiedZeL/Pagé 12RAGD PagelD #: 162

Exhibit B

Int. CL: 35
Prior U.S. Cls.: 100, 101 and 102

‘United States Patent and Trademark Office

Case 1Q0asevlnasea-REM4 itumencament Aied Ofiiedasl/ Page 13RAGD Bagels #: 163

Reg. No. 2,761,385
Registered Sep. 9, 2003

SERVICE MARK —
PRINCIPAL REGISTER

WE BUY |
UGLY HOUSES.

a HomeVEstone

HOMEVESTORS OF AMERICA, INC. (DELA- -

WARE CORPORATION)
11910 GREENVILLE AVENUE
SUITE 300
DALLAS, TX 75243

FOR: FRANCHISING SERVICES, NAMELY, OF-
FERING TECHNICAL ASSISTANCE IN ESTABLISH-
ING, OPERATING, MARKETING AND
DEVELOPING FRANCHISED BUSINESSES THAT
PURCHASE, FINANCE AND SELL RESIDENTIAL
REAL ESTATE, IN CLASS 35 (U.S. CLS, 100, 101 AND
102).

FIRST USE 3-0-2000; IN COMMERCE 3-0-2000.

OWNER OF US, REG. NOS, 2,012,077, 2,689;569
AND OTHERS.

NG CLAIM IS MADE TO THE EXCLUSIVE
RIGHT TO USE "WE BUY UGLY HOUSES", APART
FROM THE MARK AS SHOWN.

THE MARK CONSISTS OF THE WORDS "WE
BUY UGLY HOUSES." IN STYLIZED BLACK LET-
TERS. PLACED IMMEDIATELY BELOW THE
WORDS IS AN ISOSCELES TRIANGLE OVERLAY-
ING AND CENTERED BETWEEN TWO PARALLEL,
RECTANGULAR COLUMNS ORIENTED VERTI-
CALLY REPRESENTING THE CAPITAL LETTER
"H" WITH A SMALL CIRCLE PLACED BELOW THE
BASE OF THE TRIANGLE AND BETWEEN THE
VERTICAL COLUMNS REPRESENTING A ST'Y-
LIZED DOORKNOB, ALL SITUATED ON A REC-
TANGULAR SHADED BACKGROUND,
FOLLOWED BY THE WORD "HOMEVESTORS" IN
STYLIZED GREEN LETTERS, WITH THE ENTIRE
MARK ALL SITUATED ON A YELLOW BACK-
GROUND, AND SUCH COLORS ARE CLAIMED AS
A FEATURE OF THE MARK.

SER. NO. 76-453,610, FELED 9-30-2002.

ROBERT COGGINS, EXAMINING ATTORNEY

Case 1@aseyi02583-RGa4ReumBecunentritéd OSiled2B1/PHgé 14 age Pagehs#: 164

Int. Cl: 35
Prior U.S. Cls.: 100, 101 and 102

Reg. No. 2,761,385
Registered Sep. 9, 2003

United States Patent and Trademark Office.

SERVICE MARK _
PRINCIPAL REGISTER

WE Buy _
UGLY HOUSES.

BA HomeVestoRS

HOMEVESTORS OF AMERICA, INC. (DELA- -

WARE CORPORATION)
11910 GREENVILLE AVENUE
SUITE 300
DALLAS, TX 75243

FOR: FRANCHISING SERVICES, NAMELY, OF-
FERING TECHNICAL ASSISTANCE IN ESTABLISH-

ING, OPERATING, MARKETING AND ~

DEVELOPING FRANCHISED BUSINESSES THAT
PURCHASE, FINANCE AND SELL RESIDENTIAL
REAL ESTATE, IN CLASS 35 (U.S. CLS. 100, 101 AND
102).

FIRST USE 3-0-2000; IN COMMERCE 3-0-2000.

OWNER OF U.S. REG. NOS. 2,012,077, 2,689;569
AND OTHERS.

NO CLAIM IS MADE TO THE EXCLUSIVE
RIGHT TO USE "WE BUY UGLY HOUSES", APART
FROM THE MARK AS SHOWN.

THE MARK CONSISTS OF THE WORDS "WE
BUY UGLY HOUSES." IN STYLIZED BLACK LET-
TERS. PLACED IMMEDIATELY BELOW THE
WORDS IS AN ISOSCELES TRIANGLE OVERLAY-
ING AND CENTERED BETWEEN TWO PARALLEL,
RECTANGULAR COLUMNS ORIENTED VERTI-
CALLY REPRESENTING THE CAPITAL LETTER
"H" WITH A SMALL CIRCLE PLACED BELOW THE
BASE OF THE TRIANGLE AND BETWEEN THE
VERTICAL COLUMNS REPRESENTING A STY-
LIZED DOORKNOB, ALL SITUATED ‘ON A REC-
TANGULAR SHADED BACKGROUND,
FOLLOWED BY THE WORD "HOMEVESTORS" IN
STYLIZED GREEN LETTERS, WITH THE ENTIRE
MARK ALL SITUATED ON A YELLOW BACK-
GROUND, AND SUCH COLORS ARE CLAIMED. AS
A FEATURE OF THE MARK.

SER. NO. 76-453,610, FILED 9-30-2002.

ROBERT COGGINS, EXAMINING ATTORNEY

Int. Cl.: 35
Prior U.S. Cls.: 100, 101 and 102

United States Patent and Trademark Office

Case 1Gaselo7483-RGM4 hitumbscumenthiiad OF/ledZ2B1/PAgé 15kA@e PageAs#: 165

Reg. No. 2,761,385
Registered Sep. 9, 2003

SERVICE MARK
PRINCIPAL REGISTER

WE BUY
UGLY HOUSES.

Fal HomeVESTORS

HOMEVESTORS OF AMERICA, INC, (DELA-
WARE CORPORATION}

11910 GREENVILLE AVENUE

SUITE 300

DALLAS, TX 75243

FOR: FRANCHISING SERVICES, NAMELY, OF-
FERING TECHNICAL ASSISTANCE IN ESTABLISH-
ING, OPERATING, MARKETING AND
DEVELOPING FRANCHISED BUSINESSES THAT
PURCHASE, FINANCE AND SELL RESIDENTIAL
REAL ESTATE, IN CLASS 35 (U.S. CLS. 100, 101 AND
102},

FIRST USE 3-0-2000; IN COMMERCE 3-0-2000.

OWNER OF U.S. REG. NOS. 2,012,077, 2,689,569
AND OTHERS.

NO CLAIM IS MADE TO THE EXCLUSIVE
RIGHT TO USE "WE BUY UGLY HOUSES", APART
FROM THE MARK AS SHOWN.

THE MARK CONSISTS OF THE WORDS "WE
BUY UGLY HOUSES." IN STYLIZED BLACK LET-
TERS. PLACED IMMEDIATELY BELOW THE
WORDS IS AN JSOSCELES TRIANGLE OVERLAY-
ING AND CENTERED BETWEEN TWO PARALLEL,
RECTANGULAR COLUMNS ORIENTED VERTI-
CALLY REPRESENTING THE CAPITAL LETTER
"H" WITH A SMALL CIRCLE PLACED BELOW THE
BASE OF THE TRIANGLE AND BETWEEN THE
VERTICAL COLUMNS REPRESENTING A STY-
LIZED DOORKNOB, ALL SITUATED ON A REC-
TANGULAR SHADED BACKGROUND,
FOLLOWED BY THE WORD "HOMEVESTORS" IN
STYLIZED GREEN LETTERS, WITH THE ENTIRE
MARK ALL SITUATED CN A YELLOW BACK-
GROUND, AND SUCH COLORS ARE CLAIMED AS
A FEATURE OF THE MARK.

SER. NO. 76-453,610, FILED 9-30-2002.

ROBERT COGGINS, EXAMINING ATTORNEY

Case 1Gase/9458e-RGM4beeumbacumentriéd OF/ilad281/Pagd 16 Rage Pagehs#: 166

Int. Cl: 35
Prior U.S. Cls.: 100, 101 and 102
Reg. No. 2,794,480
United States Patent and Trademark Office Registered Dec. 16, 2003
SERVICE MARK
PRINCIPAL REGISTER
UGLY'S OK

HOMEVESTORS GF AMERICA, INC. (DELA-
WARE CORPORATION)

11910 GREENVILLE AVENUE

SUITE 300

DALLAS, TX 75243

FOR: FRANCHISING SERVICES, NAMELY, OF-
FERING TECHNICAL ASSISTANCE IN ESTABLISH-
ING, OPERATING, MARKETING AND
DEVELOPING FRANCHISED BUSINESSES THAT

PURCHASE, FINANCE AND SELL RESIDENTIAL
REAL ESTATE, IN CLASS 35 (U.S, CLS. 100, 101 AND
102),

FIRST USE 1-17-2003; IN COMMERCE 1-17-2003.
SER. NO, 76-491,304, FILED 2-20-2003.

CAROLINE WOOD, EXAMINING ATTORNEY

Int. Cl: 36
Prior U.S. Cis.: 100, 101 and 102

United States Patent and Trademark Office

Case 19256/10248a-RGM4 metumeHCUMeENtRed OSe92R1/ Page 17 BROS PAGERS #: 167

Reg. No. 3,099,814
Registered June 6, 2006

SERVICE MARK
PRINCIPAL REGISTER

WE BUY UGLY HOUSES

HOMEVESTORS OF AMERICA, INC. (DELA-
WARE CORPORATION)

10670 N. CENTRAL EXPRESSWAY

SUITE 700

DALLAS, TX 75231

FOR: REAL ESTATE SERVICES, NAMELY, REAL
ESTATE BROKERAGE, AND PROVIDING MORT-
GAGE, TITLE AND HOME INSURANCE BROKER-
AGE SERVICES, IN CLASS 36 (U.S. CLS. 100, 101
AND 102).

FIRST USE 3-1-2000; IN COMMERCE 3-1-2000.

THE MARE CONSISTS OF STANDARD CHAR-
ACTERS WITHOUT CLAIM TO ANY PARTICULAR
FONT, STYLE, SIZE, OR COLOR.

OWNER OF U.S. REG. NOS. 2,689,569, 2,827,136
AND OTHERS.

SEC. 2(F).
SER. NO. 76-637,606, FILED 5-2-2005.

AISHA CLARKE, EXAMINING ATTORNEY

Int. Cl: 36
Prior U.S. Cls.; 100, 101, and 102

United States Patent and Trademark Office

Case 199Sevlo4S89-REM4 HdtumeRceMentAiied oFMEAzB1/Puge 18RAGS FUGERS #: 168

Reg. No. 3,307,918
Registered Oct. 9, 2007

SERVICE MARK
PRINCIPAL REGISTER

WE BUY THE GOOD, THE BAD AND THE UGLY

HOMEVESTORS OF AMERICA, INC. (DELA-
WARE CORPORATION)

10670 N. CENFRAL EXPRESSWAY, SUITE 700

DALLAS, TX 75231

FOR: REAL ESTATE SERVICES, NAMELY PUR-
CHASE, FINANCE, ACQUISITION AND BROKER-
AGE OF RESIDENTIAL REAL ESTATE
PROPERTIES, IN CLASS 36 (US. CLS. 100, 101 AND
102),

FIRST USE 2-9-2007; IN COMMERCE 2-9-2007.

THE MARK CONSISTS OF STANDARD CHAR-
ACTERS WITHOUT CLAIM TO ANY PARTICULAR
FONT, STYLE, SIZE, OR COLOR.

OWNER OF U.S. REG. NOS. 2,689,569, 3,099,814,
AND OTHERS.

SN 76-668,797, FILED 11-9-2006,

JOHN HWANG, EXAMINING ATTORNEY

Case 199Se164S89-REW4 eRumeREIMeE tied OSMEI2BL/ Puae 19RFSS Pagells #: 169

Int. Cl: 36
Prior U.S. Cls.: 100, 101 and 102
for sae an Reg. No. 3,350,752

United States Patent and Trademark Office Registered Dec. 11, 2007

SERVICE MARK
PRINCIPAL REGISTER

THE GOOD, THE BAD AND THE UGLY

HOMEVESTORS OF AMERICA, INC. (DELA- FIRST USE 3-2-2007; IN COMMERCE 3-2-2007,
WARE CORPORATION)
10670 N. CENTRAL EXPRESSWAY, SUITE 700

DALLAS, TX 75231 THE MARK CONSISTS OF STANDARD CHAR-

ACTERS WITHOUT CLAIM TO ANY PARTICULAR

FOR: REAL ESTATE SERVICES, NAMELY, PUR- FONT, STYLE, SIZE, OR COLOR.

CHASE, FINANCE, ACQUISITION AND BROKER-
AGRE OF RESIDENTIAL REAL ESTATE SER. NO. 76-675,282, FILED 4-10-2007,

PROPERTIES FOR OTHERS , IN CLASS 36 (US.
CLS. 100, 101 AND 102). EDWARD NELSON, EXAMINING ATTORNEY

Case 19856/104$-REK4 etumeHeUMENFied OSG2b1/ PUgé 20RRGS PagehS #: 170

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States of Amep;,

united States Patent and Trademark Office lLy

UGLY OPPORTUNITIES

Reg. No. 4,313,868
Registered Apr. 2, 2013
Int, Cl.: 33

SERVICE MARK
PRINCIPAL REGISTER

aAcling Director of the United Stutes Patent and Trademark ©)iMce

HOMEVESTORS OF AMERICA, INC. (DELAWARE CORPORATION)
SUITE 409

6500 GREENVELLE AVENUE

DALLAS, TX 75206

FOR: FRANCHISE CONSULTING SERVICES, NAMELY, CONSULTATION IN CONNECTION
WITH MARKETING AND ADVERTISING OF FRANCHISE BUSINESSES, FRANCHISE
LEAD GENERATION, STRATEGIC FRANCHISE PLANNING, TERRITORY MANAGEMENT
AND FRANCHISE SALES; CONCEPT AND BRAND DEVELOPMENT IN THE FIELD OF
FRANCHISING; MARKETING AND PROMOTION OF FRANCHISE SALES SERVICES;
BUSINESS ADVISORY AND CONSULTING SERVICES RELATING TO FRANCHISE SALES;
BROKER REFERRAL SERVICES IN THE FIELD OF FRANCHISES, IN CLASS 35 (U.S. CLS.
1690, 101 AND 102).

FIRST USE 8-1-2051; IN COMMERCE 8-1-2611.

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

SN 85-397,914, FILED 8-15-2011.

LINDA MICKLEBURGH, EXAMINING ATTORNEY

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 43 of 53

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United States Patent and Trademark Office lla

UGLY HOUSE?

Reg. No. 5,172,916
Registered Mar. 28, 2017
Int, CL.: 35, 36

Service Mark

Principal Register

WMictstl, K. Lm

Director of the United States
Patent and Trademark Office

HomeVestors of America, Inc. (DELAWARE CORPORATION}
6500 Greenville Avenue, Suite 400
Dallas, TX 75206

CLASS 35: Real estate sales management; sales promotion services; franchising services,
namely, offering technical assistance in establishing, operating, marketing and developing
franchised businesses that purchase, finance and sell residential real estate

FIRST USE 4-26-2016; IN COMMERCE 4-26-2016

CLASS 36: Real estate services, namely, real estate brokerage, and providing mortgage, title
and home insurance brokerage services; real estate services, namely, real estate acquisition,
real estate brokerage services and real estate financing services; real estate consultation,
management, brokerage, and leasing services; providing a web site for investors to access
listings of real estate properties that are for sale

FIRST USE 4-26-2016; IN COMMERCE 4-26-2016

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

SER. NO. 86-943 426, FILED 03-17-2016
DREW MICHAEL SANDER, EXAMINING ATTORNEY

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 44 of 53

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nited States Patent and Tradbemark Office lle

#WEBUYUGLYHOUSES

Reg. No. 5,297,521
Registered Sep. 26, 2017
Int. Cl.: 35, 36

Service Mark

Principal Register

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Performing the Functions and Duties of the
Under Secretary of Commerce for
totellectual Property and Director of the
United States Patent and Trademark Office

HomeVestors of America, Inc. (DELAWARE CORPORATION)
6500 Greenville Avenue, Suite 400
Dallas, TX 75206

CLASS 35: Real estate sales management; sales promotion services; franchising services,
namely, offering technical assistance in establishing, operating, marketing and developing
franchised businesses that purchase, finance and sell residential reai estate

FIRST USE 4-26-2016; IN COMMERCE 4-26-2016

CLASS 36: Real estate services, namely, real estate brokerage, and providing mortgage, title
and home insurance brokerage services; real estate services, namely, real estate acquisition,
real estate brokerage services and real estate financing services; real estate consultation,
management, brokerage, and leasing services; providing a web site for investors to access
listings of real estate properties that are for sale

FIRST USE 5-1-2016; IN COMMERCE 5-1-2016

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

SEC.2(F)

SER. NO. 87-056,964, FILED 06-01-2016
DREW M SANDER, EXAMINING ATTORNEY

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 45of53

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United States Patent and Trabemark Office lla

THE UGLIEST HOUSE OF THE

Reg. No. 5,304,576
Registered Oct. 10, 2017
Int. Cl: 35

Service Mark

Principal Register

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Performing the functions and Duties of the
Under Secretary of Commerce for
intellectual Property and Director of the
United States Patent and Trademark Office

YEAR

HomeVestors of America, Inc. (DELAWARE CORPORATION)
6500 Greenville Avenue, Suite 400
Dallas, TEXAS 75206

CLASS 35: Organizing and promoting contests for advertising purposes; promoting the sale
of services of others by conducting contests

FIRST USE 10-15-2007; IN COMMERCE 10-15-2007

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

No claim is made to the exclusive right to use the following apart from the mark as shown:
“HOUSE OF THE YEAR"

SEC.2(F)

SER. NO. 87-135,473, FILED 08-11-2016

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 46 of 53

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Gnited States Patent and Trademark Office lly

Reg. No. 5,304,577
Registered Oct. 10, 2017
Int. Cl.: 35

Service Mark

Principal Register

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Under Secretary of Commerce for
Intellectual Property and Director of the
United States Patent and Trademark Office

GLIEST
Hou E

Year

HomeVestors of America, Inc. (DELAWARE CORPORATION)
6500 Greenville Avenue, Suite 400
Dallas, TEXAS 75206

CLASS 35: Organizing and promoting contests for advertising purposes, promoting the sale
of services of others by conducting contests

FIRST USE 10-15-2007; INCOMMERCE 10-15-2007
The color(s) red, black and green is/are claimed as a feature of the mark.

The mark consists of the wording "THE UGLIEST HOUSE OF THE YEAR" in stylized font
whereby the word "THE" appears in red and black and underlined in the same colors, the
wording "UGLIEST HOUSE" appears in black and green and the wording "OF THE YEAR"
appears in red and black.

No claim is made to the exclusive right to use the following apart from the mark as shown:
"HOUSE OF THE YEAR"

SEC.2(F)

SER. NO. 87-135,476, FILED 08-11-2016
Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 47 of 53

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Hnited States Patent and Travemark Office lty

WE BUY UGLY HOUSES

Reg. No. 5,467,581 HomeVestors of America, Inc. (DELAWARE CORPORATION)
Suite 400

Registered May 15, 2018 6500 Greenville Avenue

Dallas, TEXAS 75206
Int. Cl: 35, 36 CLASS 35: Real estate sales management, marketing, and advertising services; sales

promotion services; franchising services, namely, offering business management assistance,

Service Mark consultation, and advisory services in establishing, operating, promoting, marketing, and

sos : developing franchised businesses in the fields of real estate, residential and commercial real

Principal Register estate, and residential real estate purchasing, residential real estate financing, and the selling
p g

of residential real estate
FIRST USE 3-1-2000; IN COMMERCE 3-1-2000

CLASS 36: Real estate acquisition services; real estate financing services; real estate
consultation, management, and leasing services; evaluation and assessment of real estate;
providing a website featuring information in the field of real estate and featuring listings of
properties for sale for access by investors; providing real estate listings and real estate
information; providing real estate listings and real estate information via the Internet;
franchising services, namely, providing financial information and advice regarding
establishing, operating, marketing, and developing franchised businesses in the fields of real
estate, residential and commercial real estate, and residential real estate purchasing,
residential real estate financing, and the selling of residential real estate

FIRST USE 3-£-2000; IN COMMERCE 3-1-2000

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

SEC.2(F)

SER. NO, 87-586,753, FILED 08-28-2017

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Director of the United States
Patent and Trademark Office

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 48 of 53

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WE BUY UGLY HOUSES.COM

Reg. No. 5,560,021
Registered Sep. 11, 2018
Int. Cl.: 35, 36

Service Mark

Principal Register

Director of the United States
Patent and Trademark Office

HomeVesiors of America, Inc. (DELAWARE CORPORATION}
Suite 400

6500 Greenville Avenue

Dallas, TEXAS 75206

CLASS 35: Real estate sales management, marketing, and advertising services; sales
promotion services; franchising services, namely, offering business management assistance,
consultation, and advisory services in establishing, operating, promoting, marketing, and
developing franchised businesses in the fields of real estate, real estate investment, and the
purchase, finance, and sale of real estate

FIRST USE 10-28-2005; IN COMMERCE 10-28-2005

CLASS 36: Real estate acquisition services; real estate financing services; real estate
consultation, management, and leasing services; evaluation and assessment of real estate;
providing a website featuring information in the field of real estate and featuring listings of
properties for sale for access by investors; providing real estate listings and real estate
information; providing real estate listings and real estate information via the Internet;
franchising services, namely, providing financial information and advice regarding
establishing, operating, marketing, and developing franchised businesses in the fields of real
estate, reai estate investment, and the purchase, finance, and sale of real estate

FIRST USE 10-28-2005; IN COMMERCE [0-28-2005

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF U.S. REG. NO. 3099814, 5297521, 2999705
SEC.2(F)

SER. NO. 87-767,091, FILED G1-23-2018

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 49 of 53

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WE BUY HOUSES, UGLY OR NOT

Reg. No. 5,919,518
Registered Nov. 26, 2019
Int. CL: 35, 36

Service Mark

Principal Register

Nndlews hurr —
Director of the United States
Patent and Trademark Office

HomeVestors of America, Inc. (DELAWARE CORPORATION)
6500 Greenville Avenue, Suite 400
Dallas, TEXAS 75206

CLASS 35: Real estate sales management, marketing, and advertising services; sales
promotion services; franchising services, namely, offering business management assistance,
consultation, and advisory services in establishing, operating, promoting, marketing, and
developing franchised businesses in the fields of real estate, residential and commercial real
estate, and in the fields of residential real estate purchasing, residential real estate financing,
and the selling or leasing of residential real estate

FIRST USE 2-15-2019; IN COMMERCE 2-15-2019

CLASS 36: Real estate acquisition services; real estate financing services, real estate
consultation, management, and leasing services; evaluation and assessment of real estate;
providing a website featuring information in the field of real estate and featuring listings of
properties for sale for access by investors; providing real estate listings and real estate
information; providing real estate listings and real estate information via the Internet;
franchising services, namely, providing financial information and advice regarding
establishing, operating, marketing, and developing franchised businesses in the fields of real
estate, residential and commercial real estate, and residential real estate purchasing,
residential real estate financing, and the selling or leasing of residential real estate

FIRST USE 2-15-2019; IN COMMERCE 2-15-2019

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF U.S. REG. NO. 3099814, 5467581, 2999705

SER. NO. 88-422,363, FILED 05-09-2019

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 50of53

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WE BUY HOUSES, THE GOOD,

Reg. No. 5,919,520
Registered Nov. 26, 2019
Int. CL: 35, 36

Service Mark

Principal Register

Prose bre —

Director of the United States
Patent and Trademark Office

THE BAD AND THE UGLY

HomeVestors of America, Inc. (DELAWARE CORPORATION)
6500 Greenville Avenue, Suite 400
Dallas, TEXAS 75206

CLASS 35: Real estate sales management, marketing, and advertising services; sales
promotion services; franchising services, namely, offering business management assistance,
consultation, and advisory services in establishing, operating, promoting, marketing, and
developing franchised businesses in the fields of real estate, residential and commercial real
estate, and in the fields of residential real estate purchasing, residential real estate financing,
and the selling or leasing of residential real estate

FIRST USE 2-15-2019; IN COMMERCE 2-15-2019

CLASS 36: Real estate acquisition services; real estate financing services; real estate
consultation, management, and leasing services; evaluation and assessment of real estate;
providing a website featuring information in the field of real estate and featuring listings of
properties for sale for access by investors; providing real estate listings and real estate
information; providing real estate listings and real estate information via the Internet;
franchising services, namely, providing financial mformation and advice regarding
establishing, operating, marketing, and developing franchised businesses in the fields of real
estate, residential and commercial real estate, and residential real estate purchasing,
residential real estate financing, and the selling or leasing of residential real estate

FIRST USE 2-5-2019; IN COMMERCE 2-15-2019

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF U.S. REG, NO, 30998 14, 2999705, 3350752

SER. NO. 88-422,381, FILED 05-09-2019

Case 1:2259/-b25say-AGA 4ecumeaicLeMeEntFied od/la31/Pagés 29 Kage Pagétis#: 179

Int. CL: 36
Prior U.S. Cls.: 100, 101 and 102

Reg. No. 2,999,705
United States Patent and Trademark Office _ Registered Sep. 27, 2005
SERVICE MARK
PRINCIPAL REGISTER
WE BUY UGLY HOUSES

HOMEVESTORS OF AMERICA, INC. (DELA- OWNER OF U.S. REG. NOS. 2,689,559, 2,827,136

WARE CORPORATION) AND OTHERS.
11910 GREENVILLE AVENUE

SUITE 300

DALLAS, TX 75243 SEC. 2(F),

FOR: REAL ESTATE SERVICES, NAMELY REAL.
ESTATE ACQUISITION, REAL ESTATE BROKER-
AGE SERVICES AND REAL ESTATE FINANCING
SERVICES, IN CLASS 36 (U.S. CLS, 100, 101 AND 102),

FIRST USE 3-1-2000; IN COMMERCE 3-1-2000. GINNY ISAACSON, EXAMINING ATTORNEY

SER, NO, 76-556,516, FILED 10-17-2003.

Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 52o0f53

Murillo, Olga

From: ded_nefreply@ded.uscourts.gov

Sent: Friday, March 17, 2023 1:41 PM

To: ded_ecf@ded.uscourts.gov

Subject: Activity in Case 1:22-cv-01583-RGA HomeVestors of America, Inc. v. Warner Bros. Discovery, Inc.

Amended Complaint

Categories: Olga

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U.S. District Court

District of Delaware

Notice of Electronic Filing

The following transaction was entered by Farnan, Kelly on 3/17/2023 at 4:40 PM EDT and filed on 3/17/2023

Case Name: HomeVestors of America, Inc. v. Warner Bros. Discovery, Inc.
Case Number: 1:22-cv-01583-RGA
Filer: HomeVestors of America, Inc.

Document Number: 14

Docket Text:

First AMENDED COMPLAINT against Warner Bros. Discovery, Inc.- filed by HomeVestors of
America, Inc.. (Attachments: # (1) Exhibit A-B)(Farnan, Kelly)

1:22-cv-01583-RGA Notice has been electronically mailed to:

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Joshua Geller jgeller@greenbergglusker.com, calendar@greenbergglusker.com

JustinS. Cohen justin.cohen@tklaw.com, iplitdocketing@hklaw.com
Case 1:24-cv-01344-RP Document1-2 Filed 11/04/24 Page 53 o0f53
Kelly E. Farnan  farnan@rlf.com, linda-loveless-5548@ecf.pacerpro.com, loveless@rlf.com
Michael J. Flynn = mflynn@mnat.com, mifefiling@mnat.com
1:22-cv-01533-RGA Filer will deliver document by other means to:

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Document description:Main Document

Original filename:n/a

Electronic document Stamp:

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} (6ea1e544ea104fOffel 2bcc9cda35e40324608c95db23973be0aa585flfac0Ofchd
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Original filename:n/a

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] (5f065leabdf84c864b338e83a89d8fdfla93b2273b4ab80ed9155897859c9052F13
2926e750c563ec2310e0e978a7e292fetidd0f10e9535016a444b1b53ece66]]

